Case 2:22-cv-00424-JRG         Document 167         Filed 12/18/24      Page 1 of 1 PageID #: 8256




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  RESONANT SYSTEMS, INC., d/b/a                      §
  RevelHMI,                                          §
                                                     §
                 Plaintiff,                          §
                                                     §   CIVIL ACTION NO. 2:22-CV-00424-JRG
  v.                                                 §
                                                     §
  SONY INTERACTIVE ENTERTAINMENT                     §
  INC.,                                              §
                                                     §
                 Defendant.                          §


                                               ORDER

        Before the Court is the Joint Motion to Stay Case (the “Motion”) filed by Plaintiff

 Resonant Systems, Inc. and Defendant Sony Interactive Entertainment Inc. (Dkt. No. 165.) In the

 Motion, the parties represent that they have reached an agreement in principle and are preparing

 a settlement agreement. (Id. at 1.) The parties request a stay until January 17, 2025. (Id.)

        Having considered the Motion, and noting its joint nature, the Court finds that it should

 be and hereby is GRANTED. Accordingly, all deadlines in the above-captioned case are

 STAYED up to and including January 17, 2025, during which time appropriate dismissal papers

 are to be filed with the Court.


       So Ordered this
       Dec 17, 2024
